
4 F.Supp.2d 1264 (1998)
NSK LTD. and NSK Corporation; Koyo Seiko Co., Ltd. and Koyo Corporation of U.S.A.; NTN Bearing Corporation of America, American NTN Bearing Corporation, NTN Corporation, NTN Driveshaft, Inc., and NTN Bower Corporation; Nippon Pillow Block Sales Co. and FYH Bearing Units USA, Plaintiffs,
v.
UNITED STATES, Defendant,
The Torrington Company and American Honda Motor Co., Inc., Defendants-Intervenors.
Slip Op. 98-77. Court No. 95-03-00239.
United States Court of International Trade.
June 16, 1998.

JUDGMENT
TSOUCALAS, Senior Judge.
The Court having received and reviewed the United States Department of Commerce, International Trade Administration's ("Commerce") Final Results of Redetermination Pursuant to Court Remand, NSK Ltd. v. United States, Slip Op. 98-11, February 4, 1997, XX-XX-XXXXX ("Remand Results"), and Commerce having complied with the Court's Remand, it is hereby
ORDERED that the Remand Results filed by Commerce on April 28, 1998, are affirmed in their entirety; and it is further
ORDERED that, as all other issues have been decided, this case is dismissed.
